    Case: 1:09-cv-01221 Document #: 99 Filed: 07/01/09 Page 1 of 2 PageID #:989




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 BRADLEY J. SCHAUFENBUEL, et. al.,

                       Plaintiffs,

         v.                                                 Case No. 09 cv 1221

 INVESTFORCLOSURES FINANCIAL, L.L.C.,
 et. al.,

                       Defendants.


                 DEFENDANTS’ CERTIFICATE OF INTERESTED PARTIES

       Defendants InvestForClosures Financial, L.L.C., InvestForClosures.com LLC,
InvestForClosures Ventures, LLC, and Francis Sanchez, through their attorneys and pursuant to
Rule 7.1 of the Federal Rules of Civil Procedure, certify that:

       1)     Defendants InvestForClosures Financial, L.L.C., InvestForClosures.com LLC,
              and InvestForClosures Ventures, LLC do not have a parent company, and

       2)     No publicly owned company owns 10% or more of defendants InvestForClosures
              Financial, L.L.C., InvestForClosures.com LLC, and InvestForClosures Ventures,
              LLC.

                                            INVESTFORCLOSURES FINANCIAL, L.L.C.,
                                            INVESTFORCLOSURES.COM LLC,
                                            INVESTFORCLOSURES VENTURES, LLC, and
                                            FRANCIS SANCHEZ

                                      By:    Robert B. Christie
                                            One of Defendants’ Attorneys

                                            Robert B. Christie
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    Case: 1:09-cv-01221 Document #: 99 Filed: 07/01/09 Page 2 of 2 PageID #:990




                               CERTIFICATE OF SERVICE

        I, an attorney of record, hereby certify that on July 1, 2009, I electronically filed the
foregoing Certificate of Interest through the Court’s Electronic Cases Filing System, and that
pursuant to Local Rule 5.9 such filing constitutes service on all Filing Users that have appeared
in the above captioned proceeding.

                                                      /s/ Robert B. Christie
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